Case 23-00047-pmm             Doc 17      Filed 09/15/23 Entered 09/15/23 14:48:18                       Desc Main
                                         Document      Page 1 of 2



                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 In re:

 MIDNIGHT MADNESS DISTILLING LLC,
                                                                              CHAPTER 7
                                     Debtor.                                  Case No. 21-11750-MDC

 _________________________________________________

 BONNIE B. FINKEL, in her capacity as Chapter 7                               Adv. No. 23-00047-MDC
 Trustee for Midnight Madness Distilling LLC,

                                     Plaintiff,
                                                                              JURY TRIAL DEMANDED
                            v.

 CASEY PARZYCH; SHAWN SHEEHAN; ANGUS
 RITTENBURG; KELLY FESTA; ASHLEIGH
 BALDWIN; MICHAEL BOYER; R.F. CULBERTSON;
 GARY PARZYCH; RYAN USZENSKI; POLEBRIDGE,
 LLC; GOOD DESIGN, INC.; AGTECH PA LLC;
 AGTECH VI, LLC; XO ENERGY WORLDWIDE,
 LLLP; XO EW, LLC; CAN MAN LLC; BEST BEV,
 LLC; ETOH WORLDWIDE, LLC; CANVAS 340, LLC;
 FINLAND LEASING CO., INC.; and EUGENE T.
 PARZYCH, INC.,

                                     Defendants.


 MOVING DEFENDANTS’ RULE 12(b)(6) MOTION TO DISMISS FOR FAILURE TO
        STATE A CLAIM UPON WHICH RELIEF CAN BE GRANTED

          Moving Defendants,1 by and through their undersigned attorneys, hereby move this

Honorable Court, pursuant to Rule 12 of the Federal Rules of Civil Procedure, made applicable to




1 The Moving Defendants are Casey Parzych; Angus Rittenburg; Kelly A. Festa; Ashleigh Baldwin; Michael Boyer;
R.F. Culbertson; Polebridge, LLC; Good Design, Inc.; AgTech PA LLC; AgTech VI, LLC; XO Energy Worldwide,
LLLP; XO EW, LLC; Best Bev, LLC; EtOH Worldwide, LLC; Canvas 340, LLC; and Shawn Sheehan. Pursuant to
Local Rules 7005-1 and 9014-3(b), the Moving Defendants do not consent to the entry of a final order or judgment
by the court if it is determined that the court, absent consent of the parties, cannot enter a final order or judgment
consistent with Article III of the United States Constitution.
Case 23-00047-pmm        Doc 17    Filed 09/15/23 Entered 09/15/23 14:48:18            Desc Main
                                  Document      Page 2 of 2



this adversary proceeding by Rule 7012 of the Federal Rules of Bankruptcy Procedure, to dismiss

the Complaint [Adv. D.I. 1] filed against them in the above-captioned adversary proceeding by

plaintiff, Bonnie B. Finkel, the Chapter 7 Trustee for the debtor, Midnight Madness Distilling LLC

f/k/a Theobald and Oppenheimer, LLC d/b/a Faber Distilling.

 Date: September 15, 2023                           ARCHER & GREINER, P.C.

                                                    /s/ Stephen M. Packman
                                                    Stephen M. Packman
                                                    Douglas G. Leney
                                                    Mariam Khoudari
                                                    Three Logan Square
                                                    1717 Arch Street, Suite 3500
                                                    Philadelphia, PA 19103
                                                    Phone: (215) 963-3300
                                                    Fax: (215) 963-9999
                                                    spackman@archerlaw.com
                                                    dleney@archerlaw.com
                                                    mkhoudari@archerlaw.com




                                                2
